    Case 1:19-cv-00151-RGA Document 9 Filed 03/25/19 Page 1 of 10 PageID #: 86



                                             IN THE UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF DELAWARE


ENCODITECH LLC,

                             Plaintiff,                                        C.A. No. 19-cv-151-RGA

              v.                                                                  PATENT CASE

NEUROMETRIX, INC.,                                                            JURY TRIAL DEMANDED

                             Defendant.


                   NEUROMETRIX, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND
                        COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

              Defendant NeuroMetrix, Inc. (“NeuroMetrix” or “Defendant”) files this Answer,

Affirmative Defenses, and Counterclaims to Plaintiff Encoditech LLC’s (“Encoditech” or

“Plaintiff”) Complaint for Patent Infringement (“Complaint”). NeuroMetrix denies the allegations

and characterizations in Plaintiff’s Complaint unless expressly admitted in the following

paragraphs.1

                                                                 PARTIES

              1.             NeuroMetrix is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 1 of the Complaint and, on that basis, denies all such

allegations.

              2.             NeuroMetrix admits the allegations in Paragraph 2 of the Complaint.

                                                               JURISDICTION

              3.             NeuroMetrix admits that the Complaint purports to set forth an action for

infringement under the Patent Laws of the United States, 35 U.S.C. § 271, et seq., but NeuroMetrix

                                                            
1
  For avoidance of doubt, NeuroMetrix denies liability for all allegations of patent infringement
included or implied in the introductory paragraph or in any headings of the Complaint.


                                                                    1
  Case 1:19-cv-00151-RGA Document 9 Filed 03/25/19 Page 2 of 10 PageID #: 87



denies it has committed or is committing acts of infringement and denies Plaintiff is entitled to any

relief.

          4.    NeuroMetrix admits that this Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a) because Plaintiff has alleged infringement of a patent,

but NeuroMetrix denies it has committed or is committing acts of infringement and denies Plaintiff

is entitled to any relief.

          5.    NeuroMetrix does not contest whether personal jurisdiction over it properly lies in

this judicial district in this case. NeuroMetrix admits that it is incorporated in the State of Delaware

and that it conducts business in this judicial district, but NeuroMetrix denies it has committed or

is committing acts of infringement and denies Plaintiff is entitled to any relief. NeuroMetrix denies

any remaining allegations in Paragraph 5 of the Complaint.

                                               VENUE

          6.    NeuroMetrix admits that it is incorporated in the State of Delaware. NeuroMetrix

does not contest that venue may be proper in this judicial district in this case, but denies that venue

is convenient as to NeuroMetrix in this case. NeuroMetrix denies the remaining allegations in

Paragraph 6 of the Complaint.

                                         PATENT-IN-SUIT

          7.    NeuroMetrix denies it has committed or is committing acts of infringement and

denies Plaintiff is entitled to any relief. NeuroMetrix is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 7 of the

Complaint and, on that basis, denies all such allegations.




                                                   2
 Case 1:19-cv-00151-RGA Document 9 Filed 03/25/19 Page 3 of 10 PageID #: 88



The ’095 Patent

       8.      NeuroMetrix admits that a purported copy of U.S. Patent No. 6,321,095 (the “’095

Patent”) is attached to the Complaint as Exhibit A and that the face of the patent indicates that it

issued on November 20, 2001 from an application that was filed on March 26, 1999, and that it is

entitled “Wireless Communications Approach.” NeuroMetrix is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 8 of the

Complaint and, on that basis, denies all such allegations.

       9.      NeuroMetrix admits that a purported certificate of correction for the ’095 Patent is

attached to the Complaint as Exhibit B and that the certificate indicates that it was filed on May

23, 2017. NeuroMetrix is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 9 of the Complaint and, on that basis, denies all

such allegations.

       10.     NeuroMetrix denies the allegations in Paragraph 10 of the Complaint.

       11.     NeuroMetrix admits that the ’095 Patent speaks for itself, but denies any

characterizations inconsistent therewith. NeuroMetrix denies that the claims of the ’095 Patent

constitute any “invention.” NeuroMetrix denies any remaining allegations in Paragraph 11 of the

Complaint.

       12.     NeuroMetrix admits that the ’095 Patent speaks for itself, but denies any

characterizations inconsistent therewith. NeuroMetrix denies that the claims of the ’095 Patent

constitute any “invention.” NeuroMetrix denies the remaining allegations in Paragraph 12 of the

Complaint.

       13.     NeuroMetrix denies the allegations in Paragraph 13 of the Complaint.




                                                 3
 Case 1:19-cv-00151-RGA Document 9 Filed 03/25/19 Page 4 of 10 PageID #: 89



       14.     NeuroMetrix admits that the ’095 Patent speaks for itself, but denies any

characterizations inconsistent therewith. NeuroMetrix denies the remaining allegations in

Paragraph 14 of the Complaint.

       15.     NeuroMetrix denies the allegations in Paragraph 15 of the Complaint.

             COUNT I: [ALLEGED] INFRINGEMENT OF THE ’095 PATENT

       16.     NeuroMetrix incorporates by reference each of its responses set forth in Paragraphs

1-15 above as if fully set forth herein.

[Alleged] Direct Infringement

       17.     NeuroMetrix denies the allegations in Paragraph 17 of the Complaint.

       18.     NeuroMetrix denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies the allegations in Paragraph 18 of the Complaint.

       19.     NeuroMetrix denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies the allegations in Paragraph 19 of the Complaint.

       20.     NeuroMetrix denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies the allegations in Paragraph 20 of the Complaint.

       21.     NeuroMetrix denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies the allegations in Paragraph 21 of the Complaint.

       22.     NeuroMetrix denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies the allegations in Paragraph 22 of the Complaint.

       23.     NeuroMetrix denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies the allegations in Paragraph 23 of the Complaint.

       24.     NeuroMetrix denies that it has committed or is committing acts of infringement in

this district or elsewhere and, on that basis, denies the allegations in Paragraph 24 of the

Complaint.


                                                  4
  Case 1:19-cv-00151-RGA Document 9 Filed 03/25/19 Page 5 of 10 PageID #: 90



         25.    NeuroMetrix denies the allegations in Paragraph 25 of the Complaint.

         26.    NeuroMetrix denies the allegations in Paragraph 26 of the Complaint.

                                     [Plaintiff’s] Jury Demand

         27.    NeuroMetrix is not required to provide a response to Plaintiff’s demand for a jury

trial.

         To the extent that a response is required to Plaintiff’s prayer for relief, NeuroMetrix denies

that Plaintiff is entitled to any judgment against NeuroMetrix and/or an order granting relief in any

of the forms requested in parts A-F.

                                   AFFIRMATIVE DEFENSES

         NeuroMetrix’s Affirmative Defenses are listed below. NeuroMetrix reserves the right to

amend its answer to add additional Affirmative Defenses consistent with the facts discovered in

this case.

                                FIRST AFFIRMATIVE DEFENSE

         NeuroMetrix has not infringed and does not infringe, under any theory of infringement

(including directly (whether individually or jointly) or indirectly (whether contributorily or by

inducement)), any valid, enforceable claim of the ’095 Patent.

                              SECOND AFFIRMATIVE DEFENSE

         Each asserted claim of the ’095 Patent is invalid for failure to comply with one or more of

the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C.

§§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                               THIRD AFFIRMATIVE DEFENSE

         To the extent that Plaintiff and any predecessors in interest to the ’095 Patent failed to

properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or

otherwise give proper notice that NeuroMetrix’s actions allegedly infringe the ’095 Patent,


                                                   5
 Case 1:19-cv-00151-RGA Document 9 Filed 03/25/19 Page 6 of 10 PageID #: 91



NeuroMetrix is not liable to Plaintiff for the acts alleged to have been performed before

NeuroMetrix received actual notice that it was allegedly infringing the ’095 Patent.

                             FOURTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff asserts that NeuroMetrix indirectly infringes, either by

contributory infringement or inducement of infringement, NeuroMetrix is not liable to Plaintiff for

the acts alleged to have been performed before NeuroMetrix knew that its actions would cause

indirect infringement.

                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiff’s attempted enforcement of the ’095 Patent against NeuroMetrix is barred by one

or more of the equitable doctrines of laches, estoppel, acquiescence, waiver, and unclean hands.

                              SIXTH AFFIRMATIVE DEFENSE

       The claims of the ’095 Patent are not entitled to a scope sufficient to encompass any system

employed or process practiced by NeuroMetrix.

                            SEVENTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether

by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

granted.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

clams of the ’095 Patent do not claim patent eligible subject matter under 35 U.S.C. § 101.

                              NINTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim of direct infringement because, among other

things, Plaintiff has not stated a plausible allegation that any system employed or process practiced

by NeuroMetrix: (1) includes a “first mobile station [that] is configured to select a first portion of


                                                  6
 Case 1:19-cv-00151-RGA Document 9 Filed 03/25/19 Page 7 of 10 PageID #: 92



a radio frequency (RF) band to carry communications between the first mobile station and the

second mobile station”; (2) includes “a second mobile station”; (3) “transmit[s] a first request

signal on a first sub-portion of the first portion of the RF band directly to the second mobile station

to request communications between the first mobile station and the second mobile station, the first

acknowledge signal on a second sub-portion of the first portion of the RF band directly to the first

mobile station to acknowledge the first request signal”; (4) “generate[s] a message containing a

common encryption key (Ckey)”; or (5) exchanges encrypted messages “between the first and

second mobile stations [] using the Ckey.”

                           NEUROMETRIX’S COUNTERCLAIMS

       For its counterclaims against Plaintiff Encoditech LLC (“Encoditech”), Counterclaim

Plaintiff NeuroMetrix, Inc. (“NeuroMetrix”) alleges as follows:

                                             PARTIES

       1.      Counterclaim Plaintiff NeuroMetrix is a corporation organized and existing under

the laws of the State of Delaware, with a place of business located in Waltham, Massachusetts.

       2.      Upon information and belief based solely on Paragraph 1 of the Complaint as pled

by Plaintiff, Counterclaim Defendant Encoditech, is a foreign limited liability company organized

and existing under the laws of the State of Texas.

                                         JURISDICTION

       3.      NeuroMetrix incorporates by reference Paragraphs 1-2 above.

       4.      These counterclaims arise under the patent laws of the United States, Title 35,

United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

       5.      Encoditech has consented to the personal jurisdiction of this Court at least by

commencing its action for patent infringement in this District, as set forth in its Complaint.


                                                  7
 Case 1:19-cv-00151-RGA Document 9 Filed 03/25/19 Page 8 of 10 PageID #: 93



       6.      Based solely on the filing of this action, venue is proper, though not necessarily

convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                 COUNT I
                  DECLARATION REGARDING NON-INFRINGEMENT

       7.      NeuroMetrix incorporates by reference Paragraphs 1-6 above.

       8.      Based on the filing of this action and at least NeuroMetrix’s first affirmative

defense, an actual controversy has arisen and now exists between the parties as to whether

NeuroMetrix infringes U.S. Patent Nos. 6,321,095 (the “’095 Patent”).

       9.      NeuroMetrix does not infringe at least claim 7 of the ’095 Patent because, inter

alia, the accused system does not: (1) include a “first mobile station [that] is configured to select

a first portion of a radio frequency (RF) band to carry communications between the first mobile

station and the second mobile station”; (2) include a “second mobile station”; (3) “transmit a first

request signal on a first sub-portion of the first portion of the RF band directly to the second mobile

station to request communications between the first mobile station and the second mobile station,

the first acknowledge signal on a second sub-portion of the first portion of the RF band directly to

the first mobile station to acknowledge the first request signal;” (4) “generate a message containing

a common encryption key (Ckey)”; or (5) exchange encrypted messages “between the first and

second mobile stations [] using the Ckey.”

       10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

NeuroMetrix requests a declaration by the Court that NeuroMetrix has not infringed and does not

infringe any claim of the ’095 Patent under any theory (including directly (whether individually

or jointly) or indirectly (whether contributorily or by inducement)).

                                    COUNT II
                        DECLARATION REGARDING INVALIDITY

       11.     NeuroMetrix incorporates by reference Paragraphs 1-10 above.


                                                  8
 Case 1:19-cv-00151-RGA Document 9 Filed 03/25/19 Page 9 of 10 PageID #: 94



       12.     Based on the filing of this action and at least NeuroMetrix’s Second Affirmative

Defense, an actual controversy has arisen and now exists between the parties as to the validity of

the claims of the ’095 Patent.

       13.     The asserted claims of the ’095 Patent are anticipated and/or rendered obvious by,

inter alia, U.S. Patent Nos. 6,590,928, 763,772, 6,097,817, and/or 5,640,385.

       14.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

NeuroMetrix requests a declaration by the Court claims of the ’095 Patent are invalid for failure

to comply with one or more of the requirements of United States Code, Title 35, including without

limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining

thereto.

                                    PRAYER FOR RELIEF

       WHEREFORE, NeuroMetrix asks this Court to enter judgment in NeuroMetrix’s favor

and against Encoditech by granting the following relief:

       a)      a declaration that the ’095 Patent is invalid;

       b)      a declaration that NeuroMetrix does not infringe, under any theory, any valid

               claim of the ’095 Patent that may be enforceable;

       c)      a declaration that Encoditech take nothing by its Complaint;

       d)      judgment against Encoditech and in favor of NeuroMetrix;

       e)      dismissal of the Complaint with prejudice;

       f)      a finding that this case is an exceptional case under 35 U.S.C. § 285 and an award

               to NeuroMetrix of its costs and attorneys’ fees incurred in this action; and

       g)      further relief as the Court may deem just and proper.

                                        JURY DEMAND

       NeuroMetrix hereby demands trial by jury on all issues.


                                                  9
 Case 1:19-cv-00151-RGA Document 9 Filed 03/25/19 Page 10 of 10 PageID #: 95



Dated: March 25, 2019                 FISH & RICHARDSON P.C.

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                                     10
